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                        Exhibit A
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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF DELAWARE

     ROCKWELL AUTOMATION, INC.,

                      Plaintiff,

            v.                                            No. :21-cv-01238-GBW-JLH


     PARCORP S.R.L. d/b/a WI AUTOMATION,

                     Defendant.



                    CORRECTED DECLARATION OF MARK PALISZEWSKI

           I, Mark Paliszewski, hereby declare as follows:

            1.     I have personal knowledge of the matters set forth in this declaration. If I am called to

    testify I could and would testify competently to these matters under oath.

            2.     I am the Director of the Consulting and Investigative Group at Recon Management

    Group, LLC (“Recon”), which is based in Birmingham Farms, Michigan. I have worked at Recon since

    2009 in various roles conducting internal and external investigations for clients. Before that, I worked

    for nearly twenty years as an investigator for the law firm Dickinson Wright PLLC, which is

    headquartered in Detroit, Michigan. I graduated from Madonna University, located in Livonia, Michigan,

    in 1991 with a Bachelor of Science degree in Criminal Justice.

            3.     Rockwell Automation, Inc. (“Rockwell”) retained the services of Recon to conduct test

    purchases of certain products from Parcop S.R.L. d/b/a WI Automation (“WI Automation”). I received

    Rockwell’s requests for these services and oversaw Recon’s work to complete them.

            4.     In April, 2020, acting on a request from Ryan Smaglik at Rockwell, I directed a strategic

    partner to emailed WI Automation using the company name “J&J Systems” to request a quote for a
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    number of different Rockwell products and to ultimately placed an order for two of the products to be

    delivered to an address in Texas.

            5.        The products that I ordered from WI Automation were delivered in May, 2020 to the

    address that Iwas provided. Upon receipt of the products from WI Automation, I tookdirected the partner

    to take photographs of the packaging and products and I have maintained those photographs in my file

    as was customary in the ordinary course of business and in accordance with the manner that I normally

    and regularly conduct my investigation activities. I sent these photographs to Mr. Smaglik on May 12,

    2020 via email.

            6.        The photographs attached as Exhibit A to this declaration are true and accurate copies of

    the photographs that I tookwere taken in May of 2020 of the products received from WI Automation.

    Exhibit A also includes true and correct images of the invoice and shipping label provided in and on the

    package.

            7.        In March of 2022,1 was asked again by Mr. Smaglik to contact WI Automation to obtain

    a quote and initiate a purchase of certain Rockwell products. This time using the a third party company

    named “Image-Tek Displays & Graphics,” I initiated a directed Image-Tek to purchase of three Rockwell

    products from WI Automation for delivery to anImage-Tek’s address in Michigan.

            8.        The products that Iwere ordered from WI Automation were delivered in April, 2022 to

    the address that Iwas provided. Upon receipt of the products from WI Automation, I personally retrieved

    the products and took photographs of the packaging and products and maintained those photographs in

    my file as was customary in the ordinary course of business and in accordance with the manner that I

    normally and regularly conduct my investigation activities. I sent these photographs to Mr. Smaglik on

    April 4, 2022 and April 14, 2022 via email.

            9.        The photographs attached as Exhibit B to this declaration are true and accurate copies of
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    the photographs that I took in April of 2022 of the products received from WI Automation.

            10.    After taking photographs, I sent the package received from WI Automation in April,

    2022 to Neal McLaughlin, outside counsel for Rockwell.



            I certify under penalty of perjury that the foregoing is true and correct.

    DATED: February 17May 22, 2023




                                                Mark Paliszewski
